         Case 1:17-cr-00232-EGS Document 216 Filed 06/09/20 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    ________________________________________
                                             :
    UNITED STATES OF AMERICA                :
                                             :
          v.                                :
                                             :              Criminal Action No. 17-232-EGS
    MICHAEL T. FLYNN,                       :
                                             :
                    Defendant.              :
    ________________________________________:


                      MOTION FOR LEAVE TO FILE AMICUS BRIEF

        Pursuant to this Court’s Minute Orders dated May 12, 2020 and May 19, 2020, non-party

Opening Arguments Media, LLC (“Opening Arguments”), by and through its undersigned

counsel, hereby respectfully moves for leave to file the brief attached hereto as amicus curiae

with respect to the pending Motion to Dismiss filed by the government on May 7, 2020 [ECF No.

198] (the “Motion”), and in support thereof states as follows:

        1.     Amicus is a Maryland limited liability company Maryland limited liability

company wholly owned by P. Andrew Torrez, an attorney who has practiced in this district with

distinction for over 20 years.1 Mr. Torrez is a 1997 graduate of Harvard Law School cum laude,

a member of the Board of Governors of the Maryland Chapter of the Federal Bar Association, a

Fellow of the American Bar Foundation, and has received numerous other honors.

        2.     Opening Arguments Media, LLC produces the award-winning “Opening

Arguments” podcast, which has had over eleven million downloads since launching in August of




1
       See, e.g., Direct Opportunities Grp., LLC v. Ctr. for Popular Democracy Action, Case No.
1:19-cv-01407-TJK (Mr. Torrez is counsel for defendant in case pending before this Court).
         Case 1:17-cr-00232-EGS Document 216 Filed 06/09/20 Page 2 of 4



2016 and frequently addresses legal issues with a particular focus on political corruption,

accountability, and the rule of law. Amicus has the specific interest in this case as set forth more

fully in the attached (proposed) brief.

        3.      This Court has “wide discretion in deciding whether to grant a third party leave to

file an amicus brief,” WildEarth Guardians v. Zinke, 368 F.Supp.3d 41, 59 (D.D.C. 2019), and

such briefs are appropriate when they “will assist the judges by presenting ideas, arguments,

theories, insights, facts, or data that are not to be found in the parties’ briefs.” Id. (internal

citations omitted). Amicus’s proposed brief is narrowly directed to the legal questions raised in

the “Legal Background” section of the government’s Motion (at 10-11). In particular, the brief

shows (a) that Rule 48(a) requires this Court to conduct a particularized analysis as to whether

the Motion is in the public interest; and (b) that no precedent in this Circuit precludes this Court

from doing so. No brief yet filed with this Court has fully and exhaustively discussed the cases

relied upon by the government in that section of its Motion, and, given the consent filed by the

defendant, no party to the case is likely to address it, either.

        WHEREFORE, non-party and amicus curiae Opening Arguments hereby requests that

this Court grant leave to file the attached brief. A proposed order is attached.
         Case 1:17-cr-00232-EGS Document 216 Filed 06/09/20 Page 3 of 4



                                             Respectfully submitted,

                                             ________/s/________________________________
                                             P. Andrew Torrez
                                              D.C. Bar No. 468918
                                             Morgan L. Stringer
                                              D.C. Bar No. 1617428
                                             THE LAW OFFICES OF P. ANDREW TORREZ,
                                              LLC
                                             28 E. Susquehanna Ave., Suite 206
                                             Towson, Maryland 21286
                                             Phone: (240) 230-7309
                                             email: patorrez@patorrez.com

                                             Counsel for Amicus Curiae
                                             Opening Arguments Media, LLC


  Dated: June 9, 2020




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of June, 2020, the foregoing Motion for Leave to File

Amicus Brief was filed electronically via CM/ECF and electronic copies were served on counsel

of record.




                                             ____/s/ P. Andrew Torrez____________________
                                             P. Andrew Torrez
         Case 1:17-cr-00232-EGS Document 216 Filed 06/09/20 Page 4 of 4



                         IN THE UNITED STATES DISTRICT COURT
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                                           :
  UNITED STATES OF AMERICA                :
                                           :
        v.                                :
                                           :                   Criminal Action No. 17-232-EGS
  MICHAEL T. FLYNN,                       :
                                           :
                  Defendant.              :
  ________________________________________:


                                       [PROPOSED] ORDER

       Upon consideration of the motion of nonparty Opening Arguments Media, LLC for leave

to file an amicus brief in this matter, and any response(s) thereto, it is hereby

       ORDERED that the motion is GRANTED, and it is further

       ORDERED that the Clerk is directed to file the Brief of Amicus Curiae of Opening

Arguments Media, LLC submitted therewith as of the date of this Order.

       So ORDERED.




Date: _________________




                                                       _________________________________
                                                       Hon. Emmet G. Sullivan
                                                       United States District Court Judge
